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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

ADTRAV CORPORATION,                      )
                                         )
        Plaintiff,                       )
                                         ) CIVIL ACTION FILE
                                         ) NO: 2-14-CV-0056-TMP-S
                                         )
V.                                       )
                                         )
DULUTH TRAVEL, INC.,                      )
                                         )
Defendant and Plaintiff in Counterclaim. )
__________________________________________________________________

   DULUTH TRAVEL INC.’S REPLY TO ADTRAV’S RESPONSE TO
 MOTION FOR CONTEMPT, SANCTIONS, AND ADDITIONAL RELIEF
__________________________________________________________________

       COMES NOW Duluth Travel, Inc. (hereafter “Duluth”), and submits its

reply to Adtrav Corporation’s (“Adtrav”) response to Duluth’s April 4, 2016 Motion

for Contempt, Sanctions, and Additional Appropriate Relief (“Motion”).

                                 Introduction

       Duluth’s Motion for Sanctions seeks relief for Adtrav’s failure to comply

with this Court’s November 30, 2015 Order. Adtrav has admitted in its response that

the list of deposits into individually held accounts does not distinguish between VA

and non-VA revenue, rendering the information useless to Duluth. Adtrav was

required to electronically search all of its ESI, yet it has made no affirmative

representation that the search was completed or how it was completed. Adtrav has

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offered no reason for failing to provide a search report based on the search that was

conducted. Further, it has not explained the near complete absence of files expected

from the electronic search. The supplemental report from Duluth’s expert

(“Supplemental Report”) highlights Adtrav’s manipulation of accounting based on

accounting data it produced pursuant to the November 30, 2015 Order. Once that

data was finally produced, it could finally be reconciled against third-party data that

Duluth was able to obtain via subpoenas. The Supplemental Report simply

reinforces the importance of having an independent and thorough search of all of

Adtrav’s ESI to determine what exists, what was deleted, when Adtrav deleted its

files, and whether it is possible to recover any of them.1




1
  Respectfully, Duluth would ask the Court to take note that, as part of the discovery process in
this case, Duluth has been forced to re-create a reconciliation process that was Adtrav’s
responsibility during the terms of the agreements between Duluth and Adtrav, which Adtrav was
paid to do. Adtrav had a duty to preserve (by law, federal regulation, and accounting standards)
this information, but admittedly failed to do so. As a result, Duluth had to subpoena 25 separate
third parties to obtain the backup information that Adtrav should have retained. In most instances,
Duluth had to go back and forth for months with these third parties to obtain the relevant
information and still, in most instances, that information is incomplete. Duluth had to retain a
forensic accounting expert, Howard Zandman, to try to re-create the reconciliation process with
the information available to him. In the meantime, and despite Adtrav having been provided all of
the same third-party data, it has made no attempt whatsoever to reconcile this same information.
Adtrav also has apparently made no effort whatsoever to discover when it destroyed all of its
reconciliation back-up from the third parties, failing to even so much as make any affirmative
representation that it has electronically searched all of its electronically stored information. Adtrav
has simply pointed to extremely isolated examples of inconsistencies in Duluth’s Supplemental
Report that when conceded for argument’s sake total no more than $100,000 of the $420,000 in
revenues that Duluth has claimed were unreported and not paid. Adtrav has made no effort to
justify or explain the remaining $320,000 in unreported commissions and transaction fees that
should have been paid to Duluth.

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                               Adtrav’s Discovery Failures

       Adtrav asserts that “the entire basis for Duluth’s Motion for Sanctions is

Zandman’s Supplemental Report,” which Adtrav characterizes as “potentially the

product of intentional deceit.” (Adtrav’s Response to Duluth’s Motion for Sanctions

(“Response”), p. 19). The profoundly unprofessional tone and content of Adtrav’s

Response is telling. The Response is designed in large part to distract the Court from

the reality that Adtrav fails to respond to, or to explain, the vast majority of the issues

raised by Duluth in its Motion. The Supplemental Report evidences accounting

manipulation by Adtrav and reinforces the need for the relief Duluth seeks. It is

Adtrav’s failure to comply with the Court’s Order (and its now proven failure to

report all revenue earned under the VA contract) that forms the basis for the Motion

for Sanctions.2

       Adtrav did not produce a list of all VA revenue deposited into its bank

accounts. Adtrav argues that, even though it claims it cannot separate VA from non-

VA deposits, that fact does not mean Adtrav could not determine the volume of VA

revenue on a monthly or weekly basis. (Response, p. 21). As illustration of this

claim, Adtrav points to Exhibit B to Roger Hale’s Affidavit, which is a sample of

partial revenue splits and alleged backup. Id. Duluth admits it received these types


2
 Adtrav has provided no explanation for the $160,000 in transaction fees not reported to Duluth.
These fees were reflected in Adtrav’s documents as illustrated in Zandman’s initial report. (Doc.
54-1, pp. 82-190).

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of reports, but a review of Exhibit B demonstrates the hollowness of this claim.

Adtrav makes a circular argument which is essentially, “we were able to determine

VA revenue because we reported that we had determined VA revenue.” In no way

does Exhibit B show any reported commission as corresponding to any payment or

reconciliation. Even with all of the data Duluth now has, its expert cannot reconcile

Exhibit B. Adtrav has also failed to illustrate how a single deposit of VA revenue

into one of its six (6) individually held accounts was ever reflected in any of its

reports to Duluth, much less Exhibit B.

      Further, and pursuant to the Court’s Order, Duluth requested that Adtrav

produce a search report that would reveal search metrics for each source of ESI.

Instead, Adtrav gave no information regarding how it conducted its search or what

sources of ESI were searched. Adtrav reported nothing with regard to the metadata

contained in its sources of ESI that would indicate when Adtrav deleted the critical

third-party financial backup information it was paid to compile and maintain and

was required by law to compile and maintain. Adtrav alleges that the fact “that it

cannot locate certain documents requested is not going to change.” (Response, p.

20). Since its ESI was not properly searched, Adtrav’s contention that the destroyed

evidence cannot be found is hollow and disingenuous at best. An independent

forensic analysis of Adtrav’s ESI could identify when evidence was destroyed and

possibly even recover that material. While Adtrav has admitted destroying or losing


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much of the third-party financial data from which its reports were allegedly

compiled, it has provided no information as to when or how this occurred.

      Lastly, the correspondence file that Adtrav produced evidences a large amount

of files that the electronic search did not recover. Many of Adtrav’s emails contain

attachments in the form of PDF, Word, and Excel files (among other types of files).

The original files where these attachments originated should have been located by

an electronic search, yet none of these files was produced. Adtrav has made no

attempt to explain this omission.

                         Adtrav’s Erroneous Arguments

      Adtrav attempts to provide “examples showing the major flaws in Zandman’s

Supplemental Report,” which Adtrav maintains “render” his report useless and

incapable of providing support for Duluth’s Motion for Sanctions.” Adtrav’s

“examples,” however, do not contradict Duluth’s arguments or the evidence.

I.    Zandman’s “prior similar errors” are not errors.

      Adtrav argues that “Zandman’s Supplemental Report is not the first occasion

in this case where his analysis has led to the improper conclusion that ADTRAV was

not reporting and paying revenue to Duluth.” (Response, p. 16). Adtrav’s argument

relates to damages listed in Zandman’s initial report §6.4.1 of approximately

$160,000 in unreported transaction fees. (Doc. 54-1 pp. 30-32). Adtrav points to

Zandman’s concession in his Supplemental Report that he was mistaken that the


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names of passengers contained in the CBA report were reported to Duluth in weekly

net remit reports. (Response, pp. 16-17). However, Adtrav’s block quote from

Zandman’s Supplemental Report omits the next paragraph of that report where

Zandman indicates his damages analysis “remains unchanged.” (Doc. 75-1, pp. 11-

12) [emphasis supplied]. The reason Zandman does not change his damages analysis

is due to the fact that Adtrav reported only one transaction to Duluth for each of the

65 names. In the 016 ARC report, these names had multiple transactions, the

majority of which were not reported to Duluth. Id. Adtrav’s sum total of the reported

transaction fees to Duluth was a credit to Adtrav of $379 which is effectively $0. Id.

In reality, the 016 ARC report reflected $160,000 in total transaction fees that should

have been split accordingly. (Doc. 54-1, pp. 82-190). Hence, Zandman’s initial

report did not make an error on unreported transactions, and Adtrav has not

attempted to address these unreported transaction fees.

II.   Trailing zeros

      Adtrav notes that in his Supplemental Report, Mr. Zandman identifies

$4,427.22 in unreported hotel commissions based on unmatched confirmation

numbers from Adtrav’s TRAMS data compared to the confirmation numbers

contained in the Pegasus ARC number 016 data. (Response, p. 5). Adtrav’s argument

begins with the notion that confirmation numbers in the Pegasus reports will not

match confirmation numbers in Adtrav’s TRAMS data because of the inclusion of


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“trailing zeroes” which are not found in Adtrav’s TRAMS. Adtrav provides no

explanation as to why the confirmation numbers are different in its TRAMS. Further,

some of the “trailing zero” confirmation numbers do not appear at all in Adtrav’s

TRAMS system, even by traveler name. Some of the confirmation numbers with

“trailing zeros” have a completely different number altogether. In addition, a simple

comparison of the first and last columns in Exhibit 1 of Adtrav’s Response shows

not only that the confirmation number changed, but also the ARC number changed.

All of the entries on Adtrav’s Exhibit 1 in the first column are credited to Adtrav’s

ARC number (016). However, Adtrav’s TRAMS data credits every entry to Duluth’s

ARC number (119) with the exception of two (2) entries.

      While it seems at least plausible a third-party payment consolidator could alter

a confirmation number, it is not plausible the third party would also arbitrarily and

fortuitously change the ARC number to one that happened to belong to Adtrav. The

ARC number is the only way a payment consolidator knows who is owed the

commission. As is increasingly clear, Adtrav’s Response not only fails to address

the majority of the failures and omissions of which Duluth complained, it actually

provides additional and further reasons for the Court to order an independent search

of Adtrav’s ESI.

      Lastly, this alleged issue with trailing zeros is unique to the data that Pegasus

produced for Adtrav’s ARC number (016). Pursuant to third-party subpoenas,


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Pegasus produced data segregated by ARC number. Not one of the confirmation

numbers contained in the information for Duluth’s ARC number (119) contained a

mismatched confirmation number due to a missing zero when reconciled with

Adtrav’s TRAMS data. All of these facts point to the conclusion that Adtrav was

manipulating the confirmation numbers and the ARC numbers for these entries on

its end.

       Adtrav claims, “it is hard to imagine that Duluth, being in this travel industry

for such a long time, was not aware of the trailing zero on Pegasus’ confirmation

numbers and allowed Zandman to go forward with his incorrect analysis.”

(Response, p. 6). Given that this dilemma appears to have never been an issue for

Duluth’s ARC number, it is hard to imagine how Duluth could have known about

this (alleged) issue.

III.   Duluth did not control reconciliation of the Pegasus ARC 119 hotel
       commission dollars.

       Adtrav argues that “[e]very hotel commission dollar related to Pegasus ARC

119 was paid into a bank account wholly owned and controlled by Duluth.”

(Response, p. 13; see also, fn. 3). According to Adtrav, “This one is the real kicker.”

Id. Adtrav’s “kicker” argument is misleading at best.

       Duluth is not and has not claimed that Adtrav was withholding payments from

Pegasus and TACS. Duluth has, however, claimed that Adtrav was able to

manipulate the reconciliation of actual commissions versus what commissions were

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reported to Duluth. Duluth had no way of knowing what was booked on the front

end in TRAMS nor whether it closed out on the back end when payments were

received. That fact is true for all transactions, not just those under Pegasus and

TACS. Thus, when Adtrav provided its monthly reports showing the split and the

applicable credits/debits, Duluth had no way to verify these figures other than what

Adtrav reported. Duluth’s claims are based on unreported commissions in those

reports, which skewed the credit/debit split in favor of Adtrav. So while money may

have passed into Duluth’s bank account, Adtrav dictated how much money it was

owed based on what it reported. Accordingly, Adtrav’s argument that Duluth

“controlled” all of the Pegasus ARC 119 hotel commissions is a consummate red

herring. Further, for the first three (3) years of the Parties’ contract, Pegasus paid

directly to Adtrav and not to Duluth.

IV.   Duluth did not fail to provide Adtrav with Pegasus data.

      Adtrav argues that Duluth owes Adtrav a percentage split of hotel

commissions received from Pegasus because “all remittance information from

Pegasus went directly to Duluth … [and] ADTRAV relied solely on Duluth to report

the total amount of Pegasus payments and to provide the detailed backup required

to reconcile the account,” which Adtrav maintains Duluth did not do. (Response, p.

14). Adtrav’s argument is based solely on Exhibit 7 to Mr. Hale’s affidavit, which is

a list of Pegasus payments that Adtrav “has no record of receiving.” However, with


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a simple electronic search, Duluth was able to locate two (2) of the alleged missing

payments listed in Exhibit 7 in Adtrav’s recent production of correspondence. Not

only is Mr. Hale’s affidavit testimony incorrect, it also demonstrates that Adtrav is

apparently unable to search its own ESI properly.3

V.     Inability to match confirmation numbers

       Adtrav argues that “[i]t is not uncommon in using the reconciliation process

that hotel commissions cannot be matched to a specific hotel booking within

TRAMS.” (Response, pp. 14-15). Adtrav maintains that “Duluth had full knowledge

of unreconciled hotel commissions as each month ADTRAV sent reports showing

non-reconcilable hotel commissions that were split between ADTRAV and Duluth.”

Id., p. 15. Adtrav’s argument is perplexing in several ways. First, Adtrav admits that

some hotel commissions could not be matched to anything, so Adtrav could have

reported any number it desired in phantom commissions. While it makes sense that

Duluth would not be able to match confirmation numbers under these circumstances,

the question is, “How was Adtrav able to determine that these commissions were

VA transactions?” Even if Duluth had access to Adtrav’s TRAMS, nothing exists to


3
   Four (4) of the payments listed in Adtrav’s Exhibit 7 are from a date after the contract ended in
January 2014. Further, the question that begs to be answered by Adtrav’s argument is “why would
there not still be a record in TRAMS of unpaid commissions that would match with a confirmation
number regardless of whether Adtrav reconciled the commissions with a Pegasus report?” Finally,
providing any more substantive response to Adtrav’s argument regarding Exhibit 7 is nearly
impossible because Mr. Hale simply references that he pulled this information from “the Pegasus
data.” Neither Mr. Hale’s affidavit, Exhibit 7, nor the Response cite to any other source for this
information.

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tie these commissions to individual bookings. Adtrav argues throughout its

Response that it is impossible to reconcile bookings using confirmation numbers,

but it never bothers to explain how it actually reconciled these bookings and

commissions when it was reporting those numbers/revenues to Duluth.

VI.   Adtrav has pointed to a few specific errors but has made no effort to
      explain or account for the remaining $320,000 in unreported
      commissions and transaction fees discussed in the Supplemental Report.

      Again, Duluth has been forced to re-create a reconciliation process that was

Adtrav’s responsibility under the Parties’ contracts. Further, Adtrav had a duty to

preserve this information and admitted it failed to do so. As a result, Duluth had to

subpoena 25 separate third parties to obtain the backup information that Adtrav

should have retained. In most instances, Duluth had to go back and forth for months

with these third parties to obtain the specific information which is still mostly partial

or incomplete. Duluth’s forensic accounting expert, Howard Zandman, re-created

the reconciliation process from scratch with the information available to him. In the

meantime, and despite Adtrav having been provided all of the same third-party data,

it has made no attempt whatsoever to reconcile this same information.

      Adtrav has simply pointed to isolated examples of inconsistencies in Duluth’s

Supplemental Report. Some of these errors appear due to the fact that Adtrav

retained access to Duluth’s TRAMS for five (5) months after the relationship ended.

(Doc. 77-1, ¶ 11). Adtrav included the first five (5) months of 2014 in its TRAMS


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data in its production to Duluth as if that production was what was requested, namely

Adtrav’s TRAMS data for the period of the Parties’ agreements. Duluth mistakenly

believed Adtrav to have produced what was requested. However, even conceding

Adtrav’s alleged errors for argument’s sake, a very liberal estimate puts the total of

those errors at approximately $100,000 of the $420,000 in revenues that Duluth has

identified as unreported. Adtrav has made no effort to justify or explain the

remaining $320,000 in unreported commissions and transaction fees that should

have been reported to Duluth.

VII. The surge in hotel bookings immediately upon Duluth taking over the
     accounting is indisputable.

      Mr. Zandman’s Supplemental Report demonstrated an enormous increase in

hotel bookings for 2014 and 2015 when Duluth took control of accounting. Adtrav

argues that this increase is impossible. Adtrav claims that Exhibit 8 of its Response

represents a report that Adtrav ran on the bookings. Adtrav offers no supporting

documentation for Exhibit 8, but purports to show that based on Adtrav’s access to

Duluth’s TRAMS data for part of 2014, the bookings were estimated to be $10.35

million. This number itself would have represented a 20% increase over what Adtrav

had reported over the previous three (3) years.

      As previously mentioned, Duluth believed that the TRAMS data Adtrav

produced was in fact Adtrav’s TRAMS data. As a result, Mr. Zandman included

Adtrav’s TRAMS data for bookings in 2014. When Mr. Zandman removed Adtrav’s

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TRAMS data for 2014, the bookings still totaled $12.5 million which actually

represents a greater than 50% increase over what Adtrav had reported for 2011,

2012, and 2013. Mr. Zandman’s number is based on actual bookings, not estimates.

Further, the bookings in 2015 remain unchanged at $16 million which is a 100%

increase over Adtrav’s reported bookings. Adtrav also acknowledges in Exhibit 8

that from 2011-2013, Adtrav’s reported bookings did not increase at all. Even

Adtrav’s estimate for 2014 represents a significant increase in bookings, and it has

offered no potential explanation for this surge.

                                       Conclusion

       In summary, since the Court’s November 30, 2015 Order, Duluth has had to

1) respond to a completely specious summary judgment motion; 2) depose Adtrav’s

expert; 3) vet that expert’s report; 4) move to strike the expert report; 5) respond to

a motion to strike Duluth’s expert’s report; 6) attempt to re-create the revenue

reconciliation process from what Duluth was able to obtain from third parties against

the TRAMS information Adtrav finally produced on December 22, 2015, once

compelled by the Court;4 and, finally 7) have its expert draft a Supplemental Report

based on the “new” information from Adtrav before Duluth could file its Motion.

The basis of Duluth’s Motion is not a “discovery issue.” The Motion for Sanctions



4
 Adtrav should have produced that same TRAMS information a year and a half earlier during the
normal course of discovery instead of forcing Duluth to file a Motion to Compel.

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squarely addresses Adtrav’s failure to comply with this Court’s Order on the Motion

to Compel, and Duluth was under no obligation to make Adtrav “aware” of its intent

to file the Motion for Sanctions.

      Based on the foregoing, there are more than ample grounds for this Court to

grant Duluth’s Motion and impose the appropriate sanctions against Adtrav. In fact,

Duluth submits that the grounds for granting the relief requested are absolutely

compelling.

      WHEREFORE, Duluth respectfully requests that its Motion for Contempt,

Sanctions, and Additional Relief be granted.

                                      Respectfully submitted,


                                      /s/ D. Michael Sweetnam
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                        CERTIFICATE OF SERVICE

      I hereby certify that I have filed a copy of the foregoing using the Court’s
CM/ECF electronic filing system which will serve a copy upon the following
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